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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LAUREN HANDEL,                                 Case No.: ____________

                        Plaintiff,              JURY TRIAL DEMAND

        v.

 PERRI KIPPERMAN and KIPPERMAN
 MANAGEMENT LTD.,

                        Defendants.

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Lauren Handel (p/k/a Lauren Ambrose) (“Plaintiff”), by and through her

attorneys, for her complaint against Defendants Perri Kipperman and Kipperman Management

Ltd. (“Defendants”), alleges as follows:

                        NATURE OF THE CLAIMS AND RELIEF SOUGHT

       1.       Plaintiff seeks a declaratory judgment that an oral arrangement between Plaintiff

and Defendants is unenforceable pursuant to the New York statute of frauds and that Plaintiff owes

no ongoing commissions to Defendants.

                                             THE PARTIES

       2.       Plaintiff is an individual who is domiciled and resides in Massachusetts.

       3.       Upon information and belief, Defendant Perri Kipperman is an individual who is

domiciled in New York and resides at 420 West End Ave # 1G, New York, NY 10024.

       4.       Upon information and belief, Defendant Kipperman Management Ltd. is a New

York corporation with its principal place of business 345 7th Avenue Suite 503, New York, New

York 10001.




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                                  JURISDICTION AND VENUE

        5.       This Court has jurisdiction under 28 U.S.C. § 1332 based on diversity of citizenship

between Plaintiff and Defendants, and because the amount in controversy exceeds $75,000. This

Court also has jurisdiction under 28 U.S.C. § 2201 (Declaratory Judgment Act). This court also

would have supplemental jurisdiction over any state law claims pursuant to 28 U.S.C. § 1367.

        6.       This Court has personal jurisdiction over Defendant Perri Kipperman because,

upon information and belief, she is a resident of the State of New York and is domiciled in this

District.

        7.       This Court has personal jurisdiction over Defendant Kipperman Management Ltd.

because, upon information and belief, it is an active corporation formed in the State of New York

with its principal place of business in this District.

        8.       Venue is proper in this District under 28 U.S.C. §§ 1391(b) and 1391(c) because a

substantial part of the events giving rise to Plaintiff’s claims occurred in this District, Plaintiff is

being harmed in this District, and because the Defendants are subject to personal jurisdiction in

this District.

        9.       An actual case or controversy exists between the parties, of sufficient immediacy

and reality to warrant the issuance of a declaratory judgment. Specifically, Defendants have

claimed in threatening email sent by Defendants’ counsel that Plaintiff has allegedly breached an

oral agreement with Defendants and is allegedly withholding commissions due and owing to

Defendants.

        10.      Defendants have made actual threats to file a lawsuit against Plaintiff and have even

gone so far as to ask Plaintiff’s counsel twice whether they would accept service of a complaint.

Defendants’ actions and statements threaten injury to Plaintiff.




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       11.       Based on the foregoing, there is a case or controversy based on a real and immediate

injury or threat of future injury that is caused by Defendants. A justiciable controversy exists

between Plaintiff and Defendants as to whether the parties’ oral arrangement, as described below,

is unenforceable under the statute of frauds and whether Plaintiff owes commission payments to

Defendants, and there is sufficient immediacy and reality to warrant the issuance of a declaratory

judgement.

                                   FACTUAL BACKGROUND

       12.       Plaintiff is an American actor and singer who performs in television, film, and on

Broadway.

       13.       In 2019, Plaintiff began starring in the Apple TV+ series Servant.

       14.       Defendant Perri Kipperman is a talent manager and the Chief Executive Officer of

Defendant Kipperman Management Ltd.

       15.       In or around 2009, Plaintiff met Perri Kipperman in New York and orally engaged

Defendants to provide personal management services for Plaintiff.

       16.       The parties orally agreed that Plaintiff would pay Defendants ten percent (10%) of

all monies earned by Plaintiff in connection with projects procured during the course of the

arrangement (the “Oral Arrangement”).

       17.       No written agreement or other written memorialization of the parties’ Oral

Arrangement exists or was ever made.

       18.       In or about December 2021, Perri Kipperman inadvertently left Plaintiff a

voicemail, the contents of which Plaintiff believes to be unprofessional and inappropriate

(“Voicemail”).




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       19.     As a result of the Voicemail, Plaintiff terminated the Oral Arrangement with

Defendants on or about December 3, 2021.

       20.     Despite the termination of the Oral Arrangement, Defendants have demanded

continuation in perpetuity of commission payments on all of Plaintiff’s projects that were procured

during the term of the Oral Arrangement, including, without limitation, approximately $325,000

in connection with Plaintiff’s current role in Servant.

       21.     Counsel for Defendants have threatened to sue Plaintiff and therefore a live

controversy exists because Defendants are convinced that they are entitled to commissions from

Plaintiff’s continuing earnings flowing from deals entered into during the term of the Oral

Arrangement, including without limitation, for Servant.

       22.     Despite Defendants’ demands, the Oral Arrangement between Plaintiff and

Defendants is unenforceable pursuant to New York’s statute of frauds.

       23.     The Oral Arrangement is unenforceable pursuant to New York’s statue of frauds

because, according to Defendants, Plaintiff’s obligations to the Defendants extend beyond

Defendants’ termination, have no specific time frame, and are not in writing.

       24.     The Oral Arrangement is unenforceable under New York’s statute of frauds

because, according to Defendants, Plaintiff may not unilaterally terminate the Oral Arrangement

and discharge her promise to Defendants to tender commission payments.

       25.     The Oral Arrangement is unenforceable under New York’s statute of frauds

because, according to Defendants, commission payments from Plaintiff would continue to be due

to Defendants under the Oral Arrangement indefinitely; accordingly, the Oral Arrangement cannot

possibly be performed within one year.




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                             FIRST CAUSE OF ACTION
                     (DECLARATORY RELIEF UNDER 28 U.S.C. § 2201)

        26.     Plaintiff realleges and incorporates by reference each of the paragraphs set forth

above as though fully set forth herein.

        27.     As a result of Defendants’ accusations, demands, and concrete threats of litigation,

there is an actual, present, and justiciable controversy between Plaintiff and Defendants as to

whether the Oral Arrangement is unenforceable under New York’s statute of frauds and whether

as a result, Plaintiff owes certain commissions to Defendants.

        28.     The controversy between Plaintiff and Defendants is substantial and adversely

impacts each parties’ legal interests in a manner that is both real and immediate.

                                   DEMAND FOR JURY TRIAL

        29.     Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a jury

trial on all issues so triable.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays as follows:

        A.      For a declaration that the Oral Arrangement between Plaintiff and Defendants is

unenforceable under New York’s statute of frauds;

        B.      For a declaration that Plaintiff does not owe any commissions or any other monies

to Defendants now or in the future;

        C.      For an award of reasonable attorneys’ fees, expenses, and costs incurred in

connection with this action; and

        D.      For such further relief as is just and equitable.




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Dated: New York, New York                COWAN, DEBAETS, ABRAHAMS
       April 22, 2022                    & SHEPPARD LLP


                                         By: /s/ Scott J. Sholder

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